






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-08-00584-CR






Jason Martinez, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF MILAM COUNTY, 20TH JUDICIAL DISTRICT


NO. CR21,726, HONORABLE ED MAGRE, JUDGE PRESIDING






M E M O R A N D U M    O P I N I O N



Jason Martinez perfected this appeal from a conviction for criminal mischief.  The
clerk's fee has not been paid and the clerk's record has not been filed.  See Tex. R. App. P. 35.3(a). 
The Court notified appellant's counsel that the appeal was subject to dismissal if the clerk's record
was not paid for by December 29, 2008.  In response, counsel informed the Court that appellant has
made no arrangements to pay for the record despite repeated contacts.  

The appeal is dismissed for want of prosecution.  See Tex. R. App. P. 37.3(b).


				__________________________________________

				J. Woodfin Jones, Chief Justice

Before Chief Justice Jones, Justices Puryear and Henson

Dismissed for Want of Prosecution

Filed:   February 5, 2009

Do Not Publish


